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                                                                     United States District Court
                                                                       Southern District of Texas

                 IN THE UNITED STATES DISTRICT COURT                      ENTERED
                 FOR THE SOUTHERN DISTRICT OF TEXAS                     October 19, 2020
                           HOUSTON DIVISION                            David J. Bradley, Clerk


IN RE: INTERCONTINENTAL              §        Lead Case No. 4:19-cv-01460
TERMINALS COMPANY LLC                §
DEER PARK FIRE LITIGATION            §        Related Case Nos.
                                     §
                                     §        4:19-cv-01424; 4:19-cv-01428;
                                     §        4:19-cv-01430; 4:19-cv-01431;
                                     §        4:19-cv-01433; 4:19-cv-01434;
                                     §        4:19-cv-01436; 4:19-cv-01440;
                                     §        4:19-cv-01443; 4:19-cv-01444;
                                     §        4:19-cv-01447; 4:19-cv-01450;
                                     §        4:19-cv-01452; 4:19-cv-01453;
                                     §        4:19-cv-01457; 4:19-cv-01459;
                                     §        4:19-cv-01461; 4:19-cv-01708;
                                     §        4:19-cv-01882; 4:19-cv-01886;
                                     §        4:19-cv-01887; 4:19-cv-01890;
                                     §        4:19-cv-02419; 4:19-cv-02425;
                                     §        4:19-cv-02429; 4:19-cv-02674;
                                     §        4:19-cv-02775; 4:19-cv-03457;
                                     §        4:19-cv-03594; 4:19-cv-03609;
                                     §        4:19-cv-04051; 4:19-cv-05029;
                                     §        4:20-cv-00019; 4:20-cv-00036;
                                     §        4:20-cv-00119; 4:20-cv-00212;
                                     §        4:20-cv-00216; 4:20-cv-00814;
                                     §        4:20-cv-01019; 4:20-cv-01022;
                                     §        4:20-cv-01306; 4:20-cv-01473;
                                     §        4:20-cv-01714; 4:20-cv-01948;
                                     §        4:20-cv-01951; 4:20-cv-01947;
                                     §        4:20-cv-01942; 4:20-cv-01938;
                                     §        4:20-cv-01891; 4:20-cv-01942;
                                     §        4:20-cv-01889; 4:20-cv-01886;
                                     §        4:20-cv-01387; 4:20-cv-01930;
                                     §        4:20-cv-01867; 4:20-cv-01863
                                     §
                                     §                  Judge Hoyt

  ORDER GRANTING MOTION FOR EXTENSION OF MEDIATION DEADLINE
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              On this day came to be heard the Parties’ Joint Motion for Extension of Mediation

Deadline (DE 418) (the “Motion”). Having considered the Motion, the applicable law, the

arguments of counsel, if any, and all other supporting and opposing papers, this Court is of the

opinion that the motion should be GRANTED.

              The deadline to conduct mediation set forth in the Court’s Case Management and

Scheduling Order Part II (DE 214) is hereby extended to July 23, 2021.

              It is so ORDERED.
                                            October 19, 2020
              SIGNED on this ___ day of ________________________, 2020



                                            Hon. Dena Hanovice Palermo
                                            United States Magistrate Judge




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